Case 1:18-cr-00022-NLH Document 33 Filed 08/17/18 Page 1 of 8 PagelD: 123

U.S. Department of Justice
Environment and Natural Resources

 

 

 

  
   

   

Division
Environmental Crimes Section Telephone (202} 305-0295
P.O. Box 7611 Facsimite (202) 514-8865
Washington, DC 20044
RECEIVED

eee

Lori Koch, Esq.

Assistant Federal Public Defender
800-840 Cooper Street

Camden, New Jersey 08102

ek PA

Or (6-22 gait)

Re: James Lewis

Dear Ms. Koch:

This letter sets forth the plea agreement between your client, James
Lewis, and the Assistant Attorney General for the Environment and Natural
Resources Division of the Department of Justice (“this Office”). This Office
extends an offer of this plea agreement until close of business on May 18,

2018, when it expires. Your client may accept this plea agreement by signing it
before that deadline.

Charge

Conditioned on the understandings specified below, this Office will
accept a guilty plea from James Lewis to Count 7 of the Indictment, which
charges him with knowingly selling, on or about April 17, 2014, American eels,
knowing those eels to be intended for exportation contrary to laws and
regulations of the United States, namely Title 16, United States Code, Sections
3372(a}(1) and 3373(d)(2), and Title 50, Code of Federal Regulations, Section
14.63. If James Lewis enters a guilty plea and is sentenced on this charge, and
otherwise fully complies with all of the terms of this agreement, this Office will
not initiate any further criminal charges against James Lewis in relation to
American eel trafficking during the period from 2012-2014. In addition, if
James Lewis fully complies with all of the terms of this agreement, at the time
of sentencing in this matter, this Office will move to dismiss counts 1, 4, and 5
of the Indictment, Criminal No. 18-22, against James Lewis. However, in the
event that a guilty plea in this matter is not entered for any reason or the
judgment of conviction entered as a result of this guilty plea does not remain in
full force and effect, defendant agrees that any dismissed charges and any
other charges that are not time-barred by the applicable statute of limitations
on the date this agreement is signed by James Lewis may be commenced
. Case 1:18-cr-00022-NLH Document 33 Filed 08/17/18 Page 2 of 8 PagelD: 124

against him, notwithstanding the expiration of the limitations period after
James Lewis signs the agreement.

Sentencing

The violation of Title 18, United States Code, Section 554, to which
James Lewis agrees to plead guilty, carries a statutory maximum prison
sentence of ten years, and a statutory maximum fine equal to the greatest of:
(1) $250,000; (2) twice the gross amount of any pecuniary gain that any
persons derived from the offense; or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense. Fines imposed by the
sentencing judge may be subject to the payment of interest.

The sentence to be imposed upon James Lewis is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U.S.C. §§ 3551-3742, and the sentencing judge’s consideration
of the United States Sentencing Guidelines. The United States Sentencing
Guidelines are advisory, not mandatory. The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does
not make any representation or promise as to what guideline range may be

found by the sentencing judge, or as to what sentence James Lewis ultimately
will receive.

Further, in addition to imposing any other penalty on James Lewis, the
sentencing judge: (1) will order James Lewis to pay an assessment of $100,
pursuant to 18 U.S.C. § 3013, which assessment must be paid by the date of
sentencing; and (2) pursuant to 18 U.S.C. § 3583, may require James Lewis to
serve a term of supervised release of not more than three years, which will
begin at the expiration of any term of imprisonment imposed. Should James
Lewis be placed on a term of supervised release and subsequently violate any of
the conditions of supervised release before the expiration of its term, James
Lewis may be sentenced to not more than two years’ imprisonment in addition
to any prison term previously imposed, regardless of the statutory maximum
term of imprisonment set forth above and without credit for time previously
served on post-release supervision, and may be sentenced to an additional
term of supervised release.

Rights of This Office Regarding Sentencing
Except as otherwise provided in this agreement, this Office reserves its

right to take any position with respect to the appropriate sentence to be
imposed on James Lewis by the sentencing judge, to correct any misstatements

-2-
. Case 1:18-cr-00022-NLH Document 33 Filed 08/17/18 Page 3 of 8 PagelD: 125

relating to the sentencing proceedings, and to provide the sentencing judge and
the United States Probation Office all law and information relevant to
sentencing, favorable or otherwise. In addition, this Office may inform the
sentencing judge and the United States Probation Office of; (1} this agreement;
and (2) the full nature and extent of James Lewis’s activities and relevant
conduct with respect to this case.

Stipulations

This Office and James Lewis agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part
of this plea agreement. This agreement to stipulate, however, cannot and does
not bind the sentencing judge, who may make independent factual findings
and may reject any or all of the stipulations entered into by the parties. To the
extent that the parties do not stipulate to a particular fact or legal conclusion,
each reserves the right to argue the existence of and the effect of any such fact
or conclusion upon the sentence. Moreover, this agreement to stipulate on the
part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in
the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or James Lewis from any other portion of this
agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both parties reserve the right to argue on appeal or at post-
sentencing proceedings that the sentencing court was within its discretion and
authority to do so. These stipulations do not restrict this Office’s right to
respond to questions from the Court and to correct misinformation that has
been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and James Lewis waive certain
rights to file an appeal, collateral attack, writ, or motion after sentencing,
including but not limited to an appeal under 18 U.S.C. § 3742 or a motion
under 28 U.S.C. § 2255.
Immigration Consequences

The defendant understands that, if he is not a citizen of the United

States, his guilty plea to the charged offenses may result in his being subject to
immigration proceedings and removed from the United States by making him

-3-
Case 1:18-cr-00022-NLH Document 33 Filed 08/17/18 Page 4 of 8 PagelD: 126

deportable, excludable, or inadmissible, or ending his naturalization. The
defendant understands that the immigration consequences of this plea will be
imposed in a separate proceeding before the immigration authorities. The
defendant wants and agrees to plead guilty to the charged offenses regardless
of any immigration consequences of this plea, even if this plea will cause his
removal from the United States. The defendant understands that he is bound
by his guilty plea regardless of any immigration consequences of the plea.
Accordingly, the defendant waives any and all challenges to his guilty plea and
to his sentence based on any immigration consequences, and agrees not to
seek to withdraw his guilty plea, or to file a direct appeal or any kind of
collateral attack challenging his guilty plea, conviction, or sentence, based on
any immigration consequences of his guilty plea.

Other Provisions

James Lewis further agrees that as a condition of any term of probation
or supervised release imposed by the Court as part of his sentence, he will not
fish for American eels anywhere in the United States, pursuant to a legal
license or otherwise.

This agreement is limited to the Department of Justice Environment and
Natural Resources Division, Environmental Crimes Section, and cannot bind
other federal, state, or local authorities. However, this Office will bring this
agreement to the attention of other prosecuting offices, if requested to do so.

This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against James Lewis.
This agreement does not prohibit the United States, any agency thereof
(including U.S. Fish and Wildlife Service and the Internal Revenue Service), or
any third party from initiating or prosecuting any civil or administrative
proceeding against James Lewis.

No provision of this agreement shall prechide James Lewis from pursuing
in an appropriate forum, when permitted by law, an appeal, collateral attack,
writ, or motion claiming that James Lewis received constitutionally ineffective
assistance of counsel.
. Case 1:18-cr-00022-NLH Document 33 Filed 08/17/18 Page 5 of 8 PagelD: 127

No Other Promises

This agreement constitutes the plea agreement between James Lewis and
this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.

Very truly yours,

JEFFREY H. WOOD

Acting Assistant Attorney General

Environment and Natural Resources
Division

Cassandra /Barnum
Trial Attorfley

 

eason
Senior Trial Attorney
“Case 1:18-cr-00022-NLH Document 33 Filed 08/17/18 Page 6 of 8 PagelD: 128

I have received this letter from my attorney, Lori Koch, Esq. I have read
it. My attorney and I have discussed it and all of its provisions, including those
addressing the charges, sentencing, stipulations, waiver, and immigration
consequences. I understand this letter fully. I hereby accept its terms and
conditions and acknowledge that it constitutes the plea agreement between the
parties. I understand that no additional promises, agreements, or conditions
have been made or will be made unless set forth in writing and signed by the
parties. I want to plead guilty pursuant to this plea agreement.

AGREED AND ACCEPTED:

pee Date: £~ hore §
es Lewis

I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charges, sentencing, stipulations,
waiver, and immigration consequences. My client understands this plea
agreement fully and wants to plead guilty pursuant to it.

Alpe bere Date: [27s

Lori Koch, Esq.
Case 1:18-cr-00022-NLH Document 33 Filed 08/17/18 Page 7 of 8 PagelD: 129

Plea Agreement With James Lewis
Schedule A

1. This Office and James Lewis recognize that the United States
Sentencing Guidelines are not binding upon the Court. This Office and James
Lewis nevertheless agree to the stipulations set forth herein. The parties
further agree that a sentence within the Guidelines range that results from the
agreed total Guidelines offense level is reasonable.

2. The version of the United States Sentencing Guidelines effective
November 1, 2014, applies in this case. The applicable guideline for Count
Seven is U.S.S.G. § 202.1. Pursuant to U.S.S.G. § 2Q2.1, The Base Offense
Level is 6.

3. James Lewis committed the offense for pecuniary gain, pursuant to
U.S.S.G. § 2Q2.1(b)(1). This results in an increase of 2 levels.

4. The market value of the American eels trafficked was greater than
$200,000 but not more than $400,000, resulting in an increase of 12 levels
pursuant to U.3.S.G. §§ 2Q2.1(3)(A) and 2B1.1.

5. James Lewis was a minor participant pursuant to U.S.S.G. §
3B1.2(b). This results in a decrease of 2 levels.

6. As of the date of this letter, James Lewis has clearly demonstrated
a recognition and affirmative acceptance of personal responsibility for the
offense charged. Therefore, a downward adjustment of 2 levels for acceptance
of responsibility is appropriate if James Lewis’s acceptance of responsibility
continues through the date of sentencing. See U.S.S.G. § 3E1.1(a).

7. As of the date of this letter, James Lewis has assisted authorities
in the investigation or prosecution of his own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby permitting this
Office to avoid preparing for trial and permitting this Office and the court to
allocate their resources efficiently. At sentencing, this Office will move for a
further 1-point reduction in James Lewis’s offense level pursuant to U.S.S.G. §
3E1.1(b) if the following conditions are met: (a) James Lewis enters a plea
pursuant to this agreement, (b) this Office in its discretion determines that
James Lewis’s acceptance of responsibility has continued through the date of
sentencing and therefore qualifies for a 2-point reduction for acceptance of
responsibility pursuant to U.S.S.G., § 3E1.1(a), and (c) James Lewis’s offense
level under the Guidelines prior to the operation of § 3E1.1(a) is 16 or greater.

-7-
Case ‘1:18-cr-00022-NLH Document 33 Filed 08/17/18 Page 8 of 8 PagelD: 130

8. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to James Lewis after adjustment for
acceptance of responsibility as detailed in Paragraphs 6 and 7 is 15 (the
“agreed total Guidelines offense level”).

9. The parties agree not to seek or argue for any upward or downward
departure.
10. James Lewis knows that he has and, except as noted below in

this paragraph, voluntarily waives, the right to file any appeal, any collateral
attack, or any other writ or motion, including but not limited to an appeal
under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which challenges
the sentence imposed by the sentencing court if that sentence falls within or
below the Guidelines range that results from the agreed total Guidelines
offense level of 15. This Office will not file any appeal, motion, or writ which
challenges the sentence imposed by the sentencing court if that sentence falls
within or above the Guidelines range that results from the agreed total offense
level of 15. The parties have reserved any right they may have under 18 U.S.C.
§ 3742 to appeal the sentencing court’s determination of the criminal history
category. The provisions of this paragraph are binding on the parties even if
the Court employs a Guidelines analysis different from that stipulated to
herein. Furthermore, if the sentencing court accepts a stipulation, both parties
waive the right to file an appeal, collateral attack, writ, or motion claiming that
the sentencing court erred in doing so.

11. Both parties reserve the right to oppose or move to dismiss any
appeal, collateral attack, writ, or motion barred by the preceding paragraph
and to file or to oppose any appeal, collateral attack, writ or motion not barred
by the preceding paragraph.
